                          Case 2:20-cr-00133-JM Document 72 Filed 07/07/22 Page 1 of 8
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I                                                                                         u.s ~1!k~PouRT
                                                                                                                 f ASIERN    DISIRIGI ARKANSAS


                                          UNITED STATES DISTRICT COURT                                                    JUL O7 2022

                                                            Eastern District of Arkansas                     By;AMMY H. ~~K

               UNITED STATES OF AMERICA                                    )
                                                                           )
                                                                                  JUDGMENT IN A CRIMINAL CASEDEPCLERK
                                  v.                                       )
                       FLEMING J. IVORY                                    )
                                                                           )      Case Number: 2:20-cr-00133-JM-1
                                                                           )      USM Number: 13274-509
                                                                           )
                                                                           )        Latrece E. Gray
                                                                           )      Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           1s of Superseding Information
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 U.S.C. § 2423(b)              Travel with intent to engage in illicit sexual conduct with a              10/12/2019                     1s

                                    minor, a Class B felony



       The defendant is sentenced as provided in pages 2 through          _ _8_ _         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

Ill Count(s)      1 of Indictment                                  Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          7/7/2022




                                                                          JAMES M. MOODY JR., U.S. DISTRICT JUDGE
                                                                         Name and Title of Judge



                                                                         o,:717 ) -Z'z_
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                   Judgment - Page      2   of   8
DEFENDANT: FLEMING J. IVORY
CASE NUMBER: 2:20-cr-00133-JM-1

                                                           IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 71 MONTHS




      ~ The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends the defendant receive a psychosexual evaluation and participate in sex offender counseling,
        substance abuse treatment, and vocational programs during incarceration. The Court further recommends designation
        to FCI Forrest City, FCI Memphis, or FCI Texarkana to allow the defendant to remain near his family.



      Ill   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
            D at                                 D a.m.       D p.m.       on
                    ----------
            D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ __ ___ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page _ _ _ of
DEFENDANT: FLEMING J. IVORY
CASE NUMBER: 2:20-cr-00133-JM-1
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 TEN (10) YEARS




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.    llf You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release

                                                                                                                   4 __ or _ _ _ 8~ - -
                                                                                                 Judgment-Page _ _ _
DEFENDANT: FLEMING J. IVORY
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 - - - - -- - - - - --
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                       Sheet 38 - Supervised Release
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DEFENDANT: FLEMING J. IVORY
CASE NUMBER: 2:20-cr-00133-JM-1

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate in sex offender treatment under the guidance and supervision of the probation office
 and follow the rules and regulations of that program, including submitting to periodic polygraph testing to aid in the
 treatment and supervision process. The defendant must pay for the cost of treatment, including polygraph sessions, at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay. In the event the defendant
 is financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 15) The defendant must not view or possess any "visual depiction" (as defined in 18 U.S.C. § 2256) including any
 photograph, film, video, picture, or computer or computer-generated image or picture, whether made or produced by
 electronic, mechanical, or other means, of "sexually explicit conduct" (as defined in 18 U.S.C. § 2256), or any other
 material that would compromise the defendant's sex offense-specific treatment if the defendant is so notified by the
 probation office.

 16) The defendant must not enter adult bookstores, strip clubs, or adult sex-themed entertainment businesses, or any
 establishments whose primary business involves sex-themed material or entertainment.

 17) The defendant must not possess and/or use computers (as defined in 18 U .S.C. § 1030(e )(1 )) or other electronic
 communications or data storage devices or media, without first obtaining permission from the probation officer.

 18) The defendant must not access the Internet except for reasons approved in advance by the probation officer.

 19) The defendant must allow the probation officer to install computer monitoring software on any computer (as defined in
 18 U.S.C. § 1030(e)(1)) that he uses.                                                   ·

20) To ensure compliance with the computer monitoring condition, the defendant must allow the probation officer to
conduct initial and periodic unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1 )) subject to
computer monitoring. These searches will be conducted to determine whether the computer contains any prohibited data
prior to installation of the monitoring software, whether the monitoring software is functioning effectively after its installation,
and whether there have been attempts to circumvent the monitoring software after its installation. The defendant must
warn any other people who use these computers that the computers may be subject to searches pursuant to this condition.

21) The defendant must not participate in online gaming. The defendant must not utilize or maintain any memberships or
accounts of any social networking website or websites that allow minor children membership, a profile, an account, or
webpage without approval of the probation office. This includes websites that explicitly prohibit access or use by sex
offenders.

22) The defendant must submit his person, property, house, residence, vehicle, papers, computers (as defined in 18
U.S.C. § 1030(e)(1 )), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The
defendant must warn any other occupants that the premises may be subject to searches pursuant to this condition.

The probation officer may conduct a search under this condition only when reasonable suspicion exists that the defendant
has violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search
must be conducted at a reasonable time and in a reasonable manner.

23) The defendant must not have direct contact with any child that he knows or reasonably should know to be under the
age of 18, without the permission of the probation officer. If the defendant does have any direct contact with any child he
knows or reasonably should know to be under the age of 18, without the permission of the probation officer, he must report
this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person
communication, or physical contact. Direct contact does not include incidental contact during ordinary daily activities in
public places.
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet JC - Supervised Release
                                                                                         Judgment-Page   _ 6_   of      8
DEFENDANT: FLEMING J. IVORY
CASE NUMBER: 2:20-cr-00133-JM-1

                            ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 24) The defendant must not go to, or remain at, any place where he knows children under the age of 18 are likely to be,
 including parks, schools, playgrounds, and childcare facilities.

 25) The probation office will provide state officials with all information required under any sexual predator and sexual
 offender notification and registration statutes and may direct the defendant to report to these agencies personally for
 required additional processing, such as an interview and assessment, photographing, fingerprinting, polygraph testing, and
 DNA collection.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                              Judgment- Page      7     of        8
DEFENDANT: FLEMING J. IVORY
CASE NUMBER: 2:20-cr-00133-JM-1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment             Restitution                  Fine                   AVAA Assessment*                NTA Assessment**
TOTALS            $ 100.00                  $ 0.00                      $ 0.00                   $ 0.00                        $ 0.00



D    The determination of restitution is deferred until
                                                        -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priori!)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                   Total Loss***                    Restitution Ordered           Priority or Percentage




TOTALS                               $                          0.00              $                       0.00
                                                                                      ----------


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D    the interest requirement is waived for the           D   fine    D     restitution.

      D    the interest requirement for the        D     fine       D   restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

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DEFENDANT: FLEMING J. IVORY
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~     Lump sum payment of$           100.00             due immediately, balance due

                  not later than                                  , or
            □
            □     in accordance with
                                         □    C,
                                                    □    D,
                                                              □    E, or     D F below; or
B     □ Payment to begin immediately (may be combined with                 □ c,     0D,or       D F below); or
C     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

D     D Payment in equal            _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,         30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several              Corresponding Payee,
      (including defendant number)                        Total Amount                    Amount                        if appropriate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be a1>plied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
